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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 22-80173-CR-CANNON


  UNITED STATES OF AMERICA,

                Plaintiff,
  v.

  GREGORY MALCOLM GOOD and
  WILLIAM MICHAEL SPEARMAN,

               Defendants.
                                          /

          ORDER GRANTING MOTION FOR PROTECTIVE ORDER AND
        ENTERING PROTECTIVE ORDER AS TO DEFENDANT SPEARMAN

         THIS MATTER comes before the Court upon the Government’s Unopposed Motion for

  Protective Order as to Defendant Spearman [ECF No. 31]. Pursuant to Federal Rule of Criminal

  Procedure 16(d) and 18 U.S.C. § 3509, the United States of America (“the Government”),

  Defendant William Michael Spearman (“Defendant”) 1, and defense counsel, hereby stipulate to

  the following. The Court therefore GRANTS the Motion [ECF No. 31] and orders as follows:

         1.     This Protective Order governs discovery material produced by the government in

                discovery as “PROTECTED DISCOVERY MATERIAL,” including the written

                material and any information contained therein, items provided in response to the

                standing discovery order, all future discovery filings, and copies of any material

                extracted from digital devices and provided from electronic service providers

                produced by the government in discovery.



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   The Indictment charges two Defendants in this case (Defendants Good and Spearman). The
  Court previously entered an identical protective order as to Defendant Good [ECF No. 24].
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        2.   The Government will make available copies of PROTECTED DISCOVERY

             MATERIAL to defense counsel to comply with the government’s discovery

             obligations. Possession of copies of PROTECTED DISCOVERY MATERIAL

             is limited to the attorneys of record and investigators, paralegals, law clerks,

             experts and assistants for the attorney of record (herein collectively referred to

             as members of the defense team).       The defense team and any other individual

             who receives PROTECTED DISCOVERY MATERIAL shall maintain such

             material in a secure manner designed to prevent disclosure to or access by anyone

             not permitted to receive it under the terms of this Protective Order. This Order

             shall be binding on any subsequent attorney of record and subsequent defense

             team unless expressly modified by the Court.

        3.   PROTECTED DISCOVERY MATERIAL may be used for this case only

             (including the preparation of pretrial, trial, and appellate defenses and strategies)

             and may not be used for any other purpose. The attorneys of record and members

             of the defense team may display and review PROTECTED DISCOVERY

             MATERIAL with Defendant and any potential trial or motion witnesses solely

             for the purpose of preparing the defense in this case.               PROTECTED

             DISCOVERY MATERIAL, and the information contained within such material,

             may not be produced, provided, shown, or conveyed in any manner to anyone

             not working on this case under the direction of the attorneys of record except as

             expressly set forth in this Order. The attorneys of record and defense team and

             members of the defense team acknowledge that providing copies of

             PROTECTED DISCOVERY MATERIAL to Defendant and other persons is




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             prohibited except under the conditions outlined below in paragraphs 4 and 5 and

             agree not to duplicate or provide copies of PROTECTED DISCOVERY

             MATERIAL to other persons.

        4.   Defendant’s attorneys of record are required to provide a copy of this Protective

             Order to any individual outside the office of the Federal Public Defender’s Office

             (or any subsequent counsel of record) who is permitted to receive PROTECTED

             DISCOVERY MATERIAL under its terms.                Such individual must agree in

             writing to be bound by the terms of this Protective Order before receiving

             PROTECTED DISCOVERY MATERIAL or any information contained in such

             material.   The defense team shall maintain a list of all individuals who have

             agreed in writing to be bound by the terms of this Protective Order.

        5.   Defendant shall view the material responsive to the Standing Discovery Order

             only as necessary for counsel to prepare the case, and only in the presence of

             defense counsel or a member of the defense team.

        6.   Nothing in this order should be construed as imposing any discovery obligations

             on the Government or Defendant that are different from those imposed by case

             law and/or Rule 16 of the Federal Rules of Criminal Procedure, and the Local

             Criminal Rules.

        7.   Any PROTECTED DISCOVERY MATERIAL that is filed with the Court in

             connection with pre-trial motions, trial, sentencing, or other matter before this

             Court, shall be filed under seal and shall remain sealed until otherwise ordered

             by this Court. This does not entitle either party to seal their filings as a matter

             of course. The parties are required to comply in all respects with the relevant




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             local and federal rules of criminal procedure pertaining to the sealing of court

             documents.

        8.   Defendant shall not, in any public filing with the Court or any other public

             document, refer to (1) any identifying information concerning the website alleged

             to be at issue in this case, including the name and URL or URLs of that website,

             (2) the username or usernames Defendant or any other individual allegedly used

             on the website, (3) the text of any specific posts or pages on that website, or (4)

             any details about the manner in which the Government allegedly identified

             Defendant or any other person as being involved with the website, including the

             sources of any information concerning Defendant or any law enforcement

             techniques allegedly used for such identification. Defendant may publicly file

             documents that use anonymous placeholders to refer to this information, such as

             the “Subject Website” or the “Subject Username,” so long as those placeholders

             do not disclose or refer to the information set out in this paragraph.

        9.   Under 18 U.S.C. § 3509(m), any contraband or evidence that it is intermingled

             with contraband may be reviewed by members of the defense team only at a

             government facility and by appointment. If Defendant’s attorneys of record or

             any member of the defense team believe that such material is not being made

             reasonably available to the defense team, they shall (1) promptly notify

             counsel for the government in writing, (2) specify in detail the grounds for their

             belief that the material is not being made reasonably available, and (3) specify

             in detail the conditions under which they believe such material would be made

             reasonably available.




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        10.    Under 18 U.S.C. §§ 3509(d) and 403, information directly or indirectly

               identifying a child victim must be kept secure and may not be disclosed to

               anyone except as necessary to prepare a defense in this case.

        11.    The provisions of this Order shall not terminate at the conclusion of this

               prosecution.

        12.    Any violation of any term or condition of this Order by Defendant, Defendant’s

               attorney(s) of record, any member of the defense team, may be held in contempt

               of court, and/or may be subject to monetary or other sanctions as deemed

               appropriate by this Court.

        13.    Any PROTECTED DISCOVERY MATERIAL provided pursuant to this Order

               shall be returned to the United States Attorney’s Office, including all copies,

               within ten days of the completion of this case before the Court, or, if an appeal

               is taken, within ten days of the completion of the case in the United States Court

               of Appeals for the Eleventh Circuit or Supreme Court of the United States.

        14.    If Defendant violates any term or condition of this Order, the Government

               reserves its right to seek a sentencing enhancement for obstruction of justice, or to

               file any criminal charges relating to Defendant’s violation.


        DONE AND ORDERED in Chambers at Fort Pierce, Florida this 28th day of

  December 2022.



                                                AILEEN M. CANNON
                                                UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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